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UNITED STATES DISTRICT COURT AUG 21 2006
FOR THE NORTHERN DISTRICT OF ILLINOIS i
EASTERN DIVISION MICHAEL W. DOBBING
CLERK, U.S. DISTRICT COURT

S.varna lc keemeratie _)
)
)
)

j CIVIL ACTION
(Name of the plaintiff or plaintiffs) )

) 06CV4517

 * } JUDGE COAR
Loysle Uaiecaby of _) MAG. JUDGE BROWN

, )
Che Cage )
)
)
)

(Name of the defendant or defendants)

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an action for employment discrimination.

 

 

 

2. The plaintiff is: Srarna be Keemera tre of the
county of (ook inthe stateof 7, Y, eoel ; c .
3. The defendant is Loye db thy mecar by os £4, clemapt , whose

street address is S20 AY Af che gin Ae. :
(city) C4crge (county) Gok (state) Z/4ren0 (ZIP) £o6//
(Defendant’s telephone number) (ZB) - WE £000
4. The plaintiff sought employment or was employed by the defendant at (street address)
E525 MN Shevides kl (city) hic aye
(county) “oud (state) ZHtenee (ZIP code)__ 47 6@ 25"

 
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5. The plaintiff [check one box]
(a_] was denied employment by the defendant.

o)L] was hired and is still employed by the defendant.

Lx] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) (2.0.42 .(day) /S _,{year)_@ SOSG.

7.1. (Choose paragraph 7.1 or 7.2, do not complete bath.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check
one box] [| has Ky filed a charge or charges against the defendant
has

asserting the acts of discrimination indicated in this complaint with any of the following

government agencies:

(i) LX the United States Equal Employment Opportunity Commission, on or about

(month) bbe (day) /y (year) 2oas_-

(ii) [Vv] the Illinois Department of [uman Rights, on or about

(month) Lebeaery (day) /Y (year) eoI05 .
(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. [XQ yes. [J No, but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The

plaintiff has no reason to believe that this policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint.
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L] Yes (month) (day) (year)

 

LJ No, did not file Complaint of Employment Discrimination

(b) — The plaintiff received a Final Agency Decision on (month)

(day) (year)
(c) Attached is a copy of the

(i) Complaint of Employment Discrimination,

LI YES LJ NO, but a copy will be filed within 14 days.
(ii) Final Agency Decision

CJ YES LJ NO, but a copy will be filed within 14 days.

(Complete paragraph 8 only if defendant is not a federal governmental agency.)

@L_| the United States Equal Employment Opportunity Commission has not issued
a Notice of Right to Sue.

wy the United States Equal Employment Opportunity Commission has issued a

Notice of Right to Sue, which was received by the plaintiff on

(month) Mey (day) 24 (year) 2p¢ 4  acopy of which

Notice is attached to this complaint.
The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply):

aX] Age (Age Discrimination Employment Act).

yl] Color (Title VI of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
 

10.

ll.

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«@L] Disability (Americans with Disabilities Act or Rehabilitation Act)

cay x] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
@L_] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

nl] Religion (Title VII of the Civil Rights Act of 1964)

yL_| Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. § 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
claims by 28 U.S.C.$1331, 28 U.S.C.§1343(a}(3), and 42 U.S.C.§2000e-5(f)(3); for

42 U.S.C.$1981 and §1983 by 42 U.S.C.81988; for the A.D.E.A. by 42 U.S.C.812117;
for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]

(a)L_] failed to hire the plaintiff.

XI terminated the plaintiff's employment.

oh failed to promote the plaintiff.

aL] failed to reasonably accommodate the plamtuff's religion.
cL] failed to reasonably accommodate the plaintiff's disabilities.
Ll failed to stop harassment,

Y
(lx retaliated against the plaintiff because the plaintiff did something to assert
rights protected by the laws identified in paragraphs 9 and 10 above:

(h) [| other (specify):

 

 
 

13.

14.

15.

16.

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The facts supporting thc plaintiff's claim of discrimination are as follows:

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fe SS2
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Jacra rufa Ae Cat. “of fe- ge + ee beta Ao oF fh. APLA af 2eouUsSC SEBS

aro A Cat veh af fer oye feaaf we
[AGE DISCRIMINATION ONLY| Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff.

The plaintiff demands that the case be tried by a jury. x YES [| NO

THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply]

@L]
wd
@L]
@L]
a
ol

Direct the defendant to hire the plaintiff.

Direct the defendant to re-employ the plaintiff.

Direct the defendant to promote the plaintiff.

Direct the defendant to reasonably accommodate the plaintiff's religion.
Direct the defendant to reasonably accommodate the plaintiff's disabilities.

Direct the defendant to (specify):

 

 
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 X] If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees.

ny DX] Grant such other relief as the Court may find appropriate.

(Plaintiff's me
Vi A~

v

 

(Plaintiff's name)

Siva LTE L/ 1€ kreme rat Ane

(Plaintiff's street address)

bLlol Nt Sterile. KL bat * 324A

 

(City) CA deco (State) ZZ (ZIP) eho

(Plaintiffs telephone number) (773 )-_ 339-383Y¥

Date: fg. ait 200
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

EEOC Form 161-B (3/98)

 

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

 

To: Swarna Wickremeratne From: Equal Employment Opportunity
6101 N. Sheridan E#32 Commission
Chicago, IL 60660 Chicago District Office
500 West Madison Street
Certified No.. 7001 0320 0005 9832 9308 Suite 2800

Chicago, Hlinois 60661-2511
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR § 1601. 7(a))
Charge No. EEOC Representative Telephone No.

2005CA2253 (EEOC#: 21B-2005-01125} Karen Lanners, Investigator (3142) 353-0902
(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title Vi of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This is your Notice of Right to Sue, issued
under Title VII and/or the ADA based on the above-numbered charge. It has been issued at your request. Your lawsuit under Title Vil or
the ADA must be filed in federal or state court WITHIN 90 DAYS of your receipt of this Notice or your right to sue based on this charge
will be iost. (The time timit for filing suit based on a state claim may be different.)

[| More than 180 days have passed since the filing of this charge.

[x] Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of the charge.

[x] The EEOC is terminating its processing of this charge.
[_] The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA}: You may sue under the ADEA at any time from 60 days after the charge was filed
until 90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked beiow
applies to your case:

[x] The EEOC is ciosing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

 

; | The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of your charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

if you file suit based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

Lt fn. Abu My z5 Cate

‘John P. Rowe, District Director a)

 
  

Enclosure(s)

cc: Loyola University-Chicago
